Case 6:18-bk-O7271-CC.] Doc 9-4 Filed 01/14/19 Page 1 of 3

 

EXH IT "D"

 

 

 

CaSe 6218-bk-O7271-CC.]

CaSe 6:18-bk-07271-CCJ

Fill in this information to identify your case:

Doc 9-4 Filed 01/14/19 Page 2 of 3

Doc 1 Filed 11/21/18 Page 18 of 49

 

 

 

Debtor 1 Joe| Vazquez Cotto

Firsl Name Middle Name Last Narne
Debtor 2
(Spouse if, li|ing) Firsl Nan‘e Middle Name Last Name

United States Bankruptcy Court for the: M|DDLE D|STR|CT OF FLOR|DA

 

Case number
(if known)

 

|:| Check if this is an

 

Officia| FOrm 106D

Schedulo D: Creditors 1Wh¢> Havo Claims Secured by Property

Be as complete and accurate as possible. lf two married people are fll|ng together, both are equally responsible for supplying correct information. lf more space
is needed, copy the Additlonal Page, fill it out, number the entries, and attach it to this form. On the top of any a dditiona| pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

l:l No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

- Yes. Fill in all ofthe information below.
ListAll Secured Claims

amended filing

12/15

 

 

 

 

 

2. L|st all secured claims. ila creditor has more than one secured claiml list the creditor separately Column A Column B column C
for each claim. lt more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor‘s name. Do not deduct the that supports this portion
value ol' collatera|. claim lf any
2 1 Se|ect Portfolio
' Servicing’ |nc Describe the property that secures the clalm: $269,041 -00 $300,000-00 $0-00
Creditors Name

Hacienda San Jose 125 Vil|a Caribe
Caguas, PR 00725 Caguas County

 

 

Attn: Bankruptcy
Po Box 65250

 

As of the date you f|le, the claim is: Check al that

app|y.
Sa|t Lake City, UT 84165 |:] Comingent
Number, street criy. stare a zrpcode El Unriquidaied
m Disputed

Who owes the debt? Check one. Nature of lien. Check all that app|y.

. Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

I:l At least one of the debtors and another
|:l Check lt thls claim relates to a

car loan)

|:l Statutory lien (such as tax lien, mechanic's |ien)
m Judgment lien from a lawsuit

- Other (inc|uding a rightto offset)

l:] An agreement you made (such as mortgage or secured

Real Estate Specific

 

community debt

Opened
2/20/1 0
Last Active

Date debt was incurred 10/31/15 7180

Last 4 digits of account number

 

Add the dollar value ot your entries |n Colum n A on this page. Wr|te that number here:

lf this is the last page of your form, add the dollar value totals from all pages.
Wr|te that number here:

List others to Be Notirred for a Debt That You Arready Listed

 

$269,041.00

 

$269,041.00

 

 

 

Use this page only lf you have others to be notified about your bankruptcy for a debt that you already listed ln Part1. For example, ll' a collection agency ls
trying to collect from you tor a debt you owe to someone else, list the creditor |n Part1, and then list the collection ag ency here. Slml|ar|y, lt you have more
than one creditor for any of the debts that you listed ln Part1l list the additional creditors here. ll' you do not have additional persons to be notified for any

debts ln Part 1, do not fill out or submit this page.

OfEcia| Form 106D
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Schedu|e D: Creditors Who Have Claims Secured by Property

page 1 of1
Best Case Bankruptcy

Case 6:18-bl<-O7271-CC.] Doc 9-4 Filed 01/14/19 Page 3 of 3

Case 6:18-bk-07271-CCJ Doc 1 Filed 11/21/18 Page 36 of 49

Fi|l in this information to identify your case:

 

 

 

Debtor 1 Joe| Vazquez Cotto

Firsl Name Midd|e Name Last Name
Debtor 2
(Spouse if, ti|ing) First Name Nliddle Name Last Name

United States Bankruptcy Court for the: M|DDLE DlSTRlCT OF FLOR|DA

 

Case number
(irr<nown) |:| Check if this is an

amended filing

 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

if you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possib|e. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedu|e D: Creditors Who Have Claims Secured by Property (Officia| Form 106D), fill in the
information below.

identify the c`reditqrfaiir;t the piedch watts ce‘lla`t;rfa! What de gen intend to do i.-.-lt`l~r the property that Utd ye'_b clair-nwa property
scetrres.a debt? as exempt en wmata `C?
Credito\‘S Select Portfolio Servicing, inc l Surrenderthe propeny_ l No
name: l:| Retain the property and redeem it.
_ _ _ _ l:| Retain the property and enter into a n Yes
Descrlptlon of Hacienda San Jose 125 Vl||a Reafn'nnarion Agreement.
PFOPe'W Caribe caguas» PR 00725 I:l Retain the property and [explain]:

securing debt: Caguas COllnty

 

 

List Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Schedu|e G: Executory Contracts and Unexpired Leases (Officia| Form 1066), fill
in the information below. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property teasea Wlll the lease be assumed?
Lessor's name: i:l No

Description of leased

Property: \:| yes

Lessor's name: i:| No

Description of leased

Property: [:| Yes

Lessor's name: [:| No
Oflicial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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